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               Exhibit B
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                                                       U.S. Department of Justice




                                                       United States Attorney
                                                       District of Arizona
                                                     Two Renaissance Square              Main: (602) 514-7500
                                                     40 N. Central Ave., Suite 1800   Main Fax: (602) 514-7693
                                                     Phoenix, AZ 85004-4408

                                                     May 20, 2019



Via FedEx and E-Mail
David S. Eisenberg
3550 N Central Ave., Ste. 1155
Phoenix, AZ, 85012
EMail:david@deisenbergplc.com
(attorney for Defendant Andrew
Padilla)




  Re:      U.S. v. Michael Lacey, et al.
           CR-18-00422-PHX-SMB

  Dear Mr. Eisenberg:

         Although we are sure you have received Mr. Piccarreta’s case file regarding your
  client Andrew Padilla—which includes discovery disclosed in the case to date—we wanted
  to separately provide you two digital media devices containing “hot docs” (i.e., documents
  specifically related to the allegations contained in the Superseding Indictment). (See
  Superseding Indictment CR 230). DVD#1 enclosed contains approximately 1,500 pages
  of Bates stamped “hot docs” specifically related to the allegations in the Superseding
  Indictment to all Defendants as well as the victims ads referenced in Counts 1-51 of the
  Superseding Indictment. 1

               • Backpage “Hot Docs” – Bates Stamped Records DOJ-BP-0004601039-
                 DOJ-BP-0004602110
               • Backpage Superseding Indictment “Hot Docs” – Bates Stamped Records
                 DOJ-BP-0004602508-DOJ-BP-0004602851


  1
      Defendant Padilla is charged with Counts 1-51 of the Superseding Indictment.
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           • Additional Superseding “Hot Docs” – Bates Stamped Records DOJ-BP-
             0004685806-DOJ-BP-0004685877
           • Additional Victim Records – Bates Stamped Records DOJ-BP-0004719328-
             DOJ-BP-0004719709

        DVD#2 enclosed contains “hot docs” specifically related to allegations contained
in the Superseding Indictment to Defendant Padilla. To assist your review of these
materials, we have labeled each “hot doc” contained on DVD#2 (see chart below) that
supports the allegations contained in the Superseding Indictment to Defendant Padilla.
This allows you to cross-reference these “hot docs” with the information contained in the
corresponding paragraphs of the Superseding Indictment.



 SSI, paragraph 77
 SSI, paragraph 78
 SSI, paragraph 78 attachment 1
 SSI, paragraph 78 attachment 2
 SSI, paragraph 79
 SSI, paragraph 80
 SSI, paragraph 81
 SSI, paragraph 82
 SSI, paragraph 83
 SSI, paragraph 84
 SSI, paragraph 85
 SSI, paragraph 87
 SSI, paragraph 88
 SSI, paragraph 93
 SSI, paragraph 93-1
 SSI, paragraph 95
 SSI, paragraph 95 attachment
 SSI, paragraph 96
 SSI, paragraph 99
 SSI, paragraph 99 attachment
 SSI, paragraph 104
 SSI, paragraph 106
 SSI, paragraph 110
 SSI, paragraph 110 attachment
 SSI, paragraph 116
 SSI, paragraph 117
 SSI, paragraph 117-1
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 SSI, paragraph 117-2
 SSI, paragraph 120
 SSI, paragraph 123
 SSI, paragraph 128
 SSI, paragraph 128 attachment
 SSI, paragraph 129
 SSI, paragraph 132
 SSI, paragraph 132-1
 SSI, paragraph 137
 SSI, paragraph 145
 SSI, paragraph 148
 SSI, paragraph 149
 SSI, paragraph 149-1
 SSI, paragraph 149-2
 SSI, paragraph 150
 SSI, paragraph 150-1
 SSI, paragraph 150-2
 SSI, paragraph 150-3
 SSI, paragraph 150-4
 SSI, paragraph 150-5
 SSI, paragraph 150-6
 SSI, paragraph 150-7
 SSI, paragraph 150-8
 SSI, paragraph 150-9


       When you have completed review of the aforementioned documents, please reach
out to me with any questions.




                                                 BRIAN BENCZKOWSKI
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                                                 U.S. Department of Justice
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                                               MARGARET PERLMETER
                                               PETER S. KOZINETS
                                               ANDREW STONE
                                               Assistant United States Attorneys
                                               JOHN J. KUCERA
                                               Special Assistant U.S. Attorney




Enclosures
